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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JOSHUA LANG WHIGAN,                 )
                                    )
       Petitioner,                  )
                                    )         CIVIL ACTION NO.
       v.                           )           2:19cv685-MHT
                                    )                (WO)
UNITED STATES OF AMERICA,           )
                                    )
       Respondent.                  )

                                OPINION

      Pursuant to 28 U.S.C. § 2255, petitioner, a federal

inmate, filed this lawsuit seeking habeas relief.                    This

lawsuit is now before the court on the recommendation

of the United States Magistrate Judge that the petition

be   denied.       Also   before     the   court    are   petitioner’s

objections to the recommendation.              After an independent

and de novo review of the record, the court concludes

that petitioner’s objections should be overruled and

the magistrate judge’s recommendation adopted.

      An appropriate judgment will be entered.

      DONE, this the 31st day of May, 2022.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
